                                 Case 20-10342-LSS                       Doc 1         Filed 02/18/20       Page 1 of 17


 Fill in this information to identify the case:


 United States Bankruptcy Court for the District of Delaware


 Case number (If known):                                    Chapter 11                                                                     Check if this is an
                                                                                                                                           amended filing
Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number
(if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1.   Debtor’s name                                Delaware BSA, LLC


 2.   All other names debtor used
      in the last 8 years
 Include any assumed names,
 trade names, and doing business as
 names



 3.   Debtor’s federal Employer
      Identification Number (EIN)                  ___84-2764311________

 4.   Debtor’s address                             Principal place of business                             Mailing address, if different from principal
                                                                                                           place of business

                                                   1325 West Walnut Hill Lane
                                                   Number       Street                                     Number     Street



                                                   Irving        TX       75038
                                                   City           State     ZIP Code                       City         State       ZIP Code


                                                                                                           Location of principal assets, if different
                                                                                                           from principal place of business
                                                   Dallas
                                                   County


                                                                                                           Number    Street


                                                                                                           City      State      ZIP Code



 5.   Debtor’s website (URL)
                                                   www.scouting.org

 6.   Type of debtor                                      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                          Partnership (excluding LLP)
                                                          Other. Specify:




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 Debtor Name Delaware BSA, LLC                                   Case number(if known)
 7.    Describe debtor’s business            A. Check one:
                                                  Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                  Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                  Railroad (as defined in 11 U.S.C. § 101(44))
                                                  Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                  Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                  Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                  None of the above


                                             B. Check all that apply:
                                                  Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                  Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §
                                                  80a-3)
                                                  Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes.

                                             8134      ____



 8.    Under which chapter of the            Check one:
       Bankruptcy Code is the debtor              Chapter 7
       filing?
                                                  Chapter 9
                                                  Chapter 11. Check all that apply:
                                                                      Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders
                                                                      or affiliates) are less than $2,566,050 (amount subject to adjustment on 4/01/19 and
                                                                      every 3 years after that).
                                                                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                      debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                      of operations, cash-flow statement, and federal income tax return or if all of these
                                                                      documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                      A plan is being filed with this petition.
                                                                      Acceptances of the plan were solicited prepetition from one or more classes of
                                                                      creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                      The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                      Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                      Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                      Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                      The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                      Rule 12b-2.
                                                         Chapter 12


 9.    Were prior bankruptcy cases                No
       filed by or against the debtor             Yes.     District                           When                    Case number
       within the last 8 years?                                                                      MM / DD / YYYY

 If more than 2 cases, attach a separate                   District                           When                    Case number
 list.                                                                                               MM / DD / YYYY


 10.   Are any bankruptcy cases                   No
       pending or being filed by a                Yes.     Debtor Boy Scouts of America                               Relationship     Sole Member
       business partner or an affiliate
                                                           District        District of Delaware                       When              02/18/2020
       of the debtor?                                                                                                                MM / DD   /YYYY
                                                           Case number, if known
 List all cases. If more than 1, attach a
 separate list.




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 2
                               Case 20-10342-LSS                  Doc 1          Filed 02/18/20          Page 3 of 17


 Debtor Delaware BSA, LLC                                         Case number(if known)
           Name



 11.   Why is the case filed in this           Check all that apply:
       district?
                                                    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                    immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                    district.
                                                    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                                    district.


 12.   Does the debtor own or have                  No
       possession of any real                       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
       property or personal property                needed.
       that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?
                                                         It needs to be physically secured or protected from the weather.
                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                         (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                         other options).
                                                         Other
                                               Where is the property?
                                                                          Number    Street




                                                                          City                                      State                ZIP Code

                                               Is the property insured?
                                                    No
                                                    Yes. Insurance agency

                                                          Contact

                                                          Phone


                  Consolidated statistical and administrative information

 13.   Debtors’ estimation of                  Check one:
       available funds                              Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                    creditors.


 14.   Estimated number of creditors                1-49                                     1,000-5,000                         25,001-50,000
                                                    50-99                                    5,001-10,000                        50,001-100,000
                                                    100-199                                  10,001-25,000                       More than 100,000
                                                    200-999

                                                    $0-$50,000                               $1,000,001-$10 million              $500,000,001-$1 billion
 15.   Estimated assets                             $50,001-$100,000                         $10,000,001-$50 million             $1,000,000,001-$10 billion
                                                    $100,001-$500,000                        $50,000,001-$100 million            $10,000,000,001-$50 billion
                                                    $500,001-$1 million                      $100,000,001-$500 million           More than $50 billion




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 3
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  Debtor Delaware BSA. LLC                                          Case number(if known)
           Name


 16. Estimated liabilities                     0    $0-$50,000                        D      $1,000,001-$10 million          D   $500,000,001-$1 billion

                                               D    $50,001-$100,000                  D      $10,000,001-$50 million         D   $1,000,000,001-$1O billion
                                               D    $100,001-$500,000                 D      $50,000,001-$100 million        D   $10,000,000,001-$50 billion
                                               D    $500,001-$1 million               1:81   $100,000,001-$500 million       D   More than $50 billion

                  Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
            imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 11. Declaration and signature of                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
     authorized representative of                  this petition.
     debtor
                                                   I have been authorized to file this petition on behalf of the debtor.

                                                   I have examined the information in this petition and have a reasonable belief that the information is true
                                                   and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                               Executed on        02/18/2020
                                                                MM/ DD /YYYY

                                               X                                                                      Steven P. McGowan
                                                                                                                  Printed name

                                                     itle Secretary and General Counsel



 1s. Signature of attorney
                                               "�--;tr=
                                                     �u;,;;
                                                                                                           Date          02/18/2020
                                                                                                                  MM/ DD/ YYYY

                                             Derek C. Abbott                                                 Jessica C.K. Boelter
                                             Printed name
                                             Morris. Nichols. Arsht & Tunnell LLP                            Sidley Austin LLP
                                             Firm name
                                             1201 North Market Street                                        787 Seventh Avenue
                                             Address
                                             Wilmington. DE 19899                                            New York. NY 10019
                                             City/State/ZIP
                                             (302) 351-9314                                                  (212) 839-5300
                                             Contact phone

                                             dabbott.@mnat.com                                               jboelter@sidley.com
                                             Email Address

                                             3376 /DE)                                                       5657580 (NY)
                                             Bar number                                                        Bar number


                                                                                                                       -- --- ----- -------




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
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                                   DELAWARE BSA, LLC
                                       MEMBER

   RESOLUTIONS APPROVING CHAPTER 11 FILING AND RELATED MATTERS

                                       February 17, 2020

       WHEREAS, the undersigned, representing the sole member (the “Member”) of Delaware
BSA, LLC (the “Company”), a non-profit Delaware limited liability company, hereby adopts the
following resolutions by written consent in accordance with the Limited Liability Company
Agreement of the Company;

      WHEREAS, the Member of the Company consulted with the senior leadership of the
Company and the legal and financial advisors to the Company and has fully considered each of
the Company’s strategic alternatives; and

       WHEREAS, the Member of the Company desires to approve the following resolutions.

Commencement of Chapter 11 Case and Filing of Plan of Reorganization

        NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Member of the
Company, it is desirable and in the best interests of the Company, its creditors, and other
stakeholders, and in furtherance of the Company’s mission, that the Company file a petition for
relief under chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the
“Bankruptcy Code”); and be it further

         RESOLVED, that the Member or each duly appointed officer or duly authorized signatory
of the Company (each, an “Authorized Person” and, collectively, the “Authorized Persons”) be,
and each of them hereby is, authorized and empowered, in the name of the Company, to execute
and verify a petition for relief under chapter 11 of the Bankruptcy Code and to cause such petition
to be filed in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”), such petition to be filed at such time as the Authorizing Person executing the petition
shall determine and to be in the form approved by the Authorized Person executing such petition,
such approval to be conclusively evidenced by the execution, verification, and filing thereof; and
be it further

       RESOLVED, that each of the Authorized Persons be, and hereby is, authorized and
empowered, in the name of the Company, to execute a chapter 11 plan of reorganization (as such
plan may be amended, modified or supplemented from time to time, the “Plan”), the form of which
has been presented to the Member, which has considered and had the opportunity to ask questions
of the senior leadership of the Company and the legal and financial advisors to the Company
regarding the Plan, and to cause the Plan to be filed in the Bankruptcy Court at such time as the
Authorizing Person executing the Plan shall determine; and be it further

        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed, in the name of the Company, with full power of delegation, to execute,
verify, and cause to be filed all petitions, schedules, statements, lists, motions, applications,
pleadings, affidavits, declarations, reports, exhibits, and other papers or documents (and any
               Case 20-10342-LSS         Doc 1       Filed 02/18/20   Page 6 of 17




amendments, modifications, and supplements thereto), and to perform such further actions and
execute, verify, and cause to be filed such further documentation that such Authorized Person
deems necessary, appropriate, or desirable in connection with the Company’s chapter 11 case (the
“Chapter 11 Case”) and in accordance with these resolutions; and be it further

Retention of Advisors

        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed to retain and employ, in the name of the Company, subject to Bankruptcy
Court approval: (i) the law firm of Sidley Austin LLP, as general bankruptcy counsel; (ii) the law
firm of Morris, Nichols, Arsht & Tunnell LLP, as Delaware bankruptcy counsel; (iii) the financial
advisory firm of Alvarez & Marsal North America, LLC, as financial advisor; (iv) the legal case
administration firm of Omni Agent Solutions, as noticing, claims and solicitation agent; and (v)
any other legal counsel, accountants, financial advisors, restructuring advisors, investment
bankers, public relations professionals, or other professionals any of the Authorized Persons deems
necessary, appropriate, or advisable; each to represent and assist the Company in carrying out its
duties and responsibilities and exercising its rights under the Bankruptcy Code; and in connection
therewith, each of the Authorized Persons be, and hereby is, authorized, empowered, and directed,
in the name of the Company, in accordance with the terms and conditions hereof, to execute
appropriate retention agreements, pay appropriate retainers, fees, indemnities, and expenses, and
to cause to be filed appropriate applications for authority to retain such services in the Chapter 11
Case; and be it further

General Authorization and Ratification

        RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed to take, or cause to be taken, in the name of the Company, any and all
further actions (including, without limitation, (i) executing, delivering, certifying, filing and/or
recording, and performing any and all documents, agreements, instruments, motions, affidavits,
declarations, applications for approvals or rulings of governmental or regulatory authorities, or
certificates, and (ii) paying fees and expenses in connection with the transactions contemplated by
the foregoing resolutions) and to take any and all steps deemed by any such Authorized Person to
be necessary, advisable, or desirable to carry out the purpose and intent of each of the foregoing
resolutions, and all actions heretofore taken by any such Authorized Person in furtherance thereof
are hereby ratified, confirmed, and approved in all respects; and it is further

        RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing resolutions done in the name of and on behalf of the Company, which acts would
have been approved by the foregoing resolutions except that such acts were taken before the
adoption of these resolutions, are hereby in all respects approved and ratified as the true acts and
deeds of the Company, with the same force and effect as if each such acts, actions, and transactions
had been specifically authorized in advance by resolution of the Company or consent of the
Member; and it is further

        RESOLVED, that the omission from these resolutions of any agreement, document, or
other arrangement contemplated by any of the agreements, documents, or instruments described
in the foregoing resolutions or any action to be taken in accordance with any requirement of any


                                                 2
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of the agreements or instruments described in the foregoing resolutions shall in no manner derogate
from the authority of the Authorized Persons to take all actions necessary, desirable, advisable, or
appropriate to consummate, effectuate, carry out, or further the transactions contemplated by, and
the intent and purposes of, the foregoing resolutions.



                                     [Signature page follows]




                                                 3
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        IN WITNESS WHEREOF, the undersigned has executed this written consent as of the
date first written above.



                                            BOY SCOUTS OF AMERICA


                                            _________________________
                                             By: Steven P. McGowan
                                             Title: Secretary




                 Signature Page to Resolutions of the Member of Delaware BSA, LLC
                                       Case 20-10342-LSS                     Doc 1     Filed 02/18/20            Page 9 of 17


        Fill in this information to identify the case:

        Debtor name Delaware BSA, LLC
        United States Bankruptcy Court for the: ___ District of Delaware__________
                                                          (State)                                                                                     Check if this is an
        Case number (If known): __20-_____________
                                                                                                                                                      amended filing
              The following is a list of the thirty (30) largest known creditors potentially holding unsecured claims against Boy Scouts of America
    and Delaware BSA, LLC (collectively, the “Debtors”) other than holders of abuse claims (the “Consolidated Top 30 List”). Concurrently
    with the filing of their petitions, the Debtors have filed a motion seeking authority to file this Consolidated Top 30 List, along with a list of
    the twenty-five (25) law firms representing the largest numbers of holders of abuse claims against the Debtors, in lieu of a list of the twenty
    (20) largest unsecured creditors for each of Boy Scouts of America and Delaware BSA, LLC.
             The Consolidated Top 30 List reflects estimated amounts owed by the Debtors as of the Petition Date. It was produced from
    the books and records of the Debtors as of the close of business on February 17, 2020. The Consolidated Top 30 List does not include
    any person or entity who is now, or formerly was, an “insider” of the Debtors as that term is defined in 11 U.S.C. § 101(31). The information
    contained herein shall not constitute an admission of liability by, nor is it binding on, the Debtors. Moreover, nothing herein shall affect
    the Debtors’ right to challenge the amount or characterization of any claim at a later date. The Debtors’ failure to list a claim as contingent,
    unliquidated or disputed does not constitute a waiver of the Debtors’ right to contest the validity, priority and/or amount of any such claim.

        Official Form 204
        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
        Unsecured Claims and Are Not Insiders                                                                                                                           12/15
    A list of creditors, other than holders of abuse claims, holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case.
    Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31).
    Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
    among the holders of the 30 largest unsecured claims.

Name of creditor and complete             Name, telephone number, and email          Nature of the        Indicate if      Amount of unsecured claim 2
mailing address, including zip            address of creditor contact                claim (for           claim is
                                                                                                                           If the claim is fully unsecured, fill in only
code 1                                                                               example, trade       contingent,
                                                                                                                           unsecured claim amount. If claim is partially
                                                                                     debts, bank loans,   unliquidated,
                                                                                     professional         or disputed      secured, fill in total claim amount and
                                                                                     services, and                         deduction for value of collateral or setoff to
                                                                                     government                            calculate unsecured claim.
                                                                                     contracts)
                                                                                                                           Total       Deduction         Unsecured claim
                                                                                                                           claim, if   for value of
                                                                                                                           partially   collateral
                                                                                                                           secured     or setoff
1         Williams, Roy L.
                                          PHONE: On File                             Restoration Plan       Unliquidated                                  $2,386,986.12
          Address on File
2                                                                                       Deferred
          Mazzuca, Robert J.
                                          PHONE: On File                             Compensation/          Unliquidated                                  $1,609,662.86
          Address on File                                                            Restoration Plan
3                                                                                       Deferred
          Brock, C. Wayne                 PHONE: On File
                                                                                     Compensation/          Unliquidated                                  $1,140,755.43
          Address on File                 EMAIL: On File                             Restoration Plan
4         Connelly, Kenneth L.            PHONE: On File
                                                                                     Restoration Plan       Unliquidated                                   $948,559.60
          Address on File                 EMAIL: On File
5         Hoover Jr., C. Michael          PHONE: On File
                                                                                     Restoration Plan       Unliquidated                                   $915,037.28
          Address on File                 EMAIL: On File
6         Ross II, David J.
                                          PHONE: On File
          Address on File                                                            Restoration Plan       Unliquidated                                   $904,795.26
                                          EMAIL: On File
7                                         ATTN: Bjarne Tellmann
          NCS Pearson, Inc.               TITLE: General Counsel and Chief
          200 Old Tappen Road             Legal Officer                               Trade Payable                                                        $714,588.00
          Old Tappan, NJ 07675            PHONE: 201-236-5416
                                          EMAIL: bjarne.tellmann@pearson.com



    1
      To protect the identities and/or personal contact information of certain individuals listed hereon, the Debtors have redacted such information from
    this list. The Debtors are providing an unredacted version of this list to the Court and the Office of the United States Trustee.
    2
      Amounts related to Restoration Plan are based on a preliminary actuarial determination.
    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                    page 1
                                  Case 20-10342-LSS             Doc 1      Filed 02/18/20              Page 10 of 17
     Debtor      Delaware BSA, LLC                                                            Case number (if known)
                 Name

Name of creditor and complete       Name, telephone number, and email    Nature of the          Indicate if       Amount of unsecured claim 2
mailing address, including zip      address of creditor contact          claim (for             claim is
                                                                                                                  If the claim is fully unsecured, fill in only
code 1                                                                   example, trade         contingent,
                                                                                                                  unsecured claim amount. If claim is partially
                                                                         debts, bank loans,     unliquidated,
                                                                         professional           or disputed       secured, fill in total claim amount and
                                                                         services, and                            deduction for value of collateral or setoff to
                                                                         government                               calculate unsecured claim.
                                                                         contracts)
                                                                                                                  Total       Deduction       Unsecured claim
                                                                                                                  claim, if   for value of
                                                                                                                  partially   collateral
                                                                                                                  secured     or setoff
8       Surbaugh, Michael           PHONE: On File
                                                                          Restoration Plan         Unliquidated                                 $699,388.64
        Address on File             EMAIL: On File
9       Ratcliffe, Judith
                                    PHONE: On File                        Restoration Plan         Unliquidated                                 $594,295.40
        Address on File
10      Tuggle, Robert              PHONE: On File
                                                                          Restoration Plan        Unliquidated                                  $589,471.08
        Address on File             EMAIL: On File
11      American Engineers &
                                    ATTN: Shiv Shahi
        Contractors
                                    TITLE: Owner
        224 Datura St, Ste 1012                                            Trade Payable                                                        $533,950.84
                                    PHONE: 561-666-9327
        West Palm Beach, FL
                                    EMAIL: shiv@aecbuild.com
        33401
12      Ohmstede, Roger A.          PHONE: On File
                                                                          Restoration Plan        Unliquidated                                  $512,590.29
        Address on File             EMAIL: On File
13
        Varnell, Thomas             PHONE: On File                           Deferred
                                                                                                                                                $397,582.81
        Address on File             EMAIL: On File                         Compensation

14      Terry, Anne
                                    PHONE: On File                        Restoration Plan        Unliquidated                                  $393,977.68
        Address on File
15      Lion Brothers Company
        Inc.                        ATTN: Susan Ganz
        10246 Reisterstown          TITLE: Chief Executive Officer
                                                                           Trade Payable                                                        $355,795.41
        Road                        PHONE: 410-363-1000, EXT. 247
        Owings Mills, MD            EMAIL: sganz@lionbrothers.com
        21117
16      Fitzgibbon, Thomas H.       PHONE: On File
                                                                          Restoration Plan        Unliquidated                                  $353,449.14
        Address on File             EMAIL: On File
17      McChesney, Donald
                                    PHONE: On File                        Restoration Plan         Unliquidated                                 $328,739.51
        Address on File
18      Butler, Gary                PHONE: On File
                                                                          Restoration Plan        Unliquidated                                  $324,387.52
        Address on File             EMAIL: On File
19      Travis, Hugh                PHONE: On File                           Deferred
                                                                                                                                                $306,816.71
        Address on File             EMAIL: On File                         Compensation
20      Farmer, Bradley
                                    PHONE: On File                        Restoration Plan        Unliquidated                                  $304,736.45
        Address on File
21      Stone, Kathy Sue            PHONE: On File
                                                                          Restoration Plan         Unliquidated                                 $254,068.18
        Address on File             EMAIL: On File
22      Hunt, Jeffrey               PHONE: On File
                                                                          Restoration Plan         Unliquidated                                 $237,271.49
        Address on File             EMAIL: On File
23      Harrington, Thomas          PHONE: On File
                                                                          Restoration Plan        Unliquidated                                  $228,275.19
        Address on File             EMAIL: On File
24      Green, John
                                    PHONE: On File                        Restoration Plan        Unliquidated                                  $224,126.37
        Address on File
25                                  ATTN: Joel Quadracci
        Quad/Graphics, Inc.
                                    TITLE: Chairman, President & Chief
        N61W23044 Harry's
                                    Executive Officer                      Trade Payable                                                        $174,600.00
        Way
                                    PHONE: 414-566-2200
        Sussex, WI 53089-2827
                                    EMAIL: joel.quadracci@qg.com
26      Blackwell, Raymond L.       PHONE: On File
                                                                          Restoration Plan        Unliquidated                                  $174,241.06
        Address on File             EMAIL: On File




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                          page 2
                                 Case 20-10342-LSS              Doc 1      Filed 02/18/20              Page 11 of 17
     Debtor    Delaware BSA, LLC                                                              Case number (if known)
               Name

Name of creditor and complete       Name, telephone number, and email    Nature of the          Indicate if       Amount of unsecured claim 2
mailing address, including zip      address of creditor contact          claim (for             claim is
                                                                                                                  If the claim is fully unsecured, fill in only
code 1                                                                   example, trade         contingent,
                                                                                                                  unsecured claim amount. If claim is partially
                                                                         debts, bank loans,     unliquidated,
                                                                         professional           or disputed       secured, fill in total claim amount and
                                                                         services, and                            deduction for value of collateral or setoff to
                                                                         government                               calculate unsecured claim.
                                                                         contracts)
                                                                                                                  Total       Deduction       Unsecured claim
                                                                                                                  claim, if   for value of
                                                                                                                  partially   collateral
                                                                                                                  secured     or setoff
27     Doe Claimant 2001
       c/o Law Offices of
                                                                                                   Contingent/
       Jeffrey E. Martin, LLC
                                    PHONE: 847-956-0000                       Litigation          Unliquidated/                                Undetermined
       2340 S. Arlington Hts.                                                                       Disputed
       Rd., Ste 520
       Arlington Hts., IL 60005
28                                                                                                 Contingent/
       Doe Claimant 2002
                                    PHONE: On File                            Litigation          Unliquidated/                                Undetermined
       Address on File                                                                              Disputed
29                                                                                                 Contingent/
       Lehr, Richard                PHONE: On File
                                                                              Litigation          Unliquidated/                                Undetermined
       Address on File              EMAIL: On File                                                  Disputed
30     Pension Benefit              ATTN: Patricia Kelly
       Guaranty Corporation         TITLE: Chief Financial Officer                                 Contingent/
                                                                         Pension Guaranty                                                      Undetermined
       1200 K Street N.W.           PHONE: 202-229-3033                                           Unliquidated
       Washington, DC 20005         EMAIL: kelly.patricia@pbgc.gov




  Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                          page 3
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    Fill in this information to identify the case:

    Debtor name     Delaware BSA, LLC
    United States Bankruptcy Court for the: ___________________ District of Delaware
                                                                            (State)                                                                 Check if this is an
    Case number (If known): _______________
                                                                                                                                                    amended filing



    Chapter 11 or Chapter 9 Cases: List of 25 Law Firms With the Largest
    Number of Representations of Holders of Abuse Claims                                                                                                       12/15
The following is a consolidated alphabetical list of the twenty-five (25) law firms representing the largest numbers of holders of abuse claims
against the debtors and debtors in possession (the “Debtors”), based on the number of known pending and asserted claims (the "Top Plaintiffs’
Counsel List"). 1 Concurrently with the filing of their petitions, the Debtors have filed a motion seeking authority to file this Top Plaintiffs’
Counsel List and a consolidated list of creditors holding unsecured claims against the Debtors other than holders of abuse claims, in lieu of a
list of the twenty (20) largest unsecured creditors that would include individual holders of abuse claims for each of Boy Scouts of America and
Delaware BSA, LLC. 2 The Top Plaintiffs’ Counsel List does not include any person or entity who is now, or formerly was, an “insider” of the
Debtors as that term is defined in 11 U.S.C. § 101(31). The Top Plaintiffs’ Counsel List was prepared with information existing as of February
17, 2020. The Debtors reserve the right to amend the Top Plaintiffs’ Counsel List. The information contained in the Top Plaintiffs’ Counsel List
shall not constitute an admission by, nor shall it be binding on, the Debtors. Moreover, nothing herein shall affect the Debtors’ right to challenge
the amount or characterization of any claim at a later date. The Debtors’ failure to list a claim as contingent, unliquidated or disputed does not
constitute a waiver of the Debtors’ right to contest the validity, priority and/or amount of any such claim.

Name of law firm and complete                  Name, telephone number, and email           Nature of      Indicate if      Amount of unsecured claim
mailing address, including zip code            address of law firm contact                 the claim      claim is         If the claim is fully unsecured, fill in only
                                                                                           (for           contingent,      unsecured claim amount. If claim is
                                                                                           example,       unliquidated,    partially secured, fill in total claim
                                                                                           Trade          or disputed      amount and deduction for value of
                                                                                           Payables,                       collateral or setoff to calculate
                                                                                           bank loans,                     unsecured claim.
                                                                                           professional
                                                                                           services,
                                                                                           and
                                                                                           government
                                                                                           contracts)
                                                                                                                           Total        Deduction        Unsecured
                                                                                                                           claim, if    for value of     claim
                                                                                                                           partially    collateral
                                                                                                                           secured      or setoff
          Andreozzi & Associates, P.C.         ATTN: Nathaniel L. Foote, Esq.
                                                                                             Abuse-         Contingent/
          111 N. Front Street                  PHONE: 717-686-9936
    1                                                                                        Related       Unliquidated/                                  Undetermined
          Harrisburg, Pennsylvania             EMAIL: Unknown                                                Disputed
                                                                                            Litigation
          17101                                FAX: 717-525-9143
                                               ATTN: Andrew Van Arsdale, Esq.
          AVA Law Group, Inc.                                                                Abuse-         Contingent/
                                               PHONE: 1-866-428-2589
    2     3667 Voltaire Street                                                               Related       Unliquidated/                                  Undetermined
                                               EMAIL: support@ava.law                                        Disputed
          San Diego , California 92106                                                      Litigation
                                               FAX: 619-347-2705
          Bondurant, Mixson &
          Elmore, LLC                          ATTN: Michael B. Terry
                                                                                             Abuse-         Contingent/
          One Atlantic Center, 1201            PHONE: 404-881-4100
    3                                                                                        Related       Unliquidated/                                  Undetermined
          West Peachtree Stree NW,             EMAIL: terry@bmelaw.com                                       Disputed
                                                                                            Litigation
          Suite 3900                           FAX: 404-881-4111
          Atlanta, Georgia 30309
          Crew Janci LLP                       ATTN: Stephen Crew
                                                                                             Abuse-         Contingent/
          1200 NW Naito Parkway,               PHONE: 503-306-0224
    4                                                                                        Related       Unliquidated/                                  Undetermined
          Suite 500                            EMAIL: steve@crewjanci.com                                    Disputed
                                                                                            Litigation
          Portland, Oregon 97209               FAX: 503-467-4940




1
 Based on pending litigation and claims identified to the Debtors by attorneys representing certain abuse victims.
2
 This list is in substantially the same form as Official Bankruptcy Form 204 for chapter 11 cases setting forth the list of creditors, other than insiders, who
 have the 20 largest unsecured claims against a debtor.
Official Form 204           Chapter 11 Case: List of 25 Law Firms With the Largest Number of Representations of Abuse Claims                             page 1



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 Debtor      Delaware BSA, LLC                                                       Case number (if known)
             Name

Name of law firm and complete           Name, telephone number, and email   Nature of      Indicate if        Amount of unsecured claim
mailing address, including zip code     address of law firm contact         the claim      claim is           If the claim is fully unsecured, fill in only
                                                                            (for           contingent,        unsecured claim amount. If claim is
                                                                            example,       unliquidated,      partially secured, fill in total claim
                                                                            Trade          or disputed        amount and deduction for value of
                                                                            Payables,                         collateral or setoff to calculate
                                                                            bank loans,                       unsecured claim.
                                                                            professional
                                                                            services,
                                                                            and
                                                                            government
                                                                            contracts)
                                                                                                              Total        Deduction        Unsecured
                                                                                                              claim, if    for value of     claim
                                                                                                              partially    collateral
                                                                                                              secured      or setoff
       Dumas Law Group, LLC
                                        ATTN: Gilion Dumas
       (a/k/a Dumas & Vaughn
                                        PHONE: 503-616-5007                   Abuse-         Contingent/
       Attorneys at Law)
 5                                      EMAIL:                                Related       Unliquidated/                                    Undetermined
       3835 NE Hancock Street,                                                                Disputed
                                        gilion@dumaslawgroup.com             Litigation
       Suite GL-B
                                        FAX: Unknown
       Portland, Oregon 97212
       Eisenberg Rothweiler,
       Winkler, Eisenberg & Jeck,       ATTN: Stewart Eisenberg, Esq.
                                                                              Abuse-         Contingent/
       P.C.                             PHONE: 215-398-7544
 6                                                                            Related       Unliquidated/                                    Undetermined
       1634 Spruce Street               EMAIL: Unknown                                        Disputed
                                                                             Litigation
       Philadelphia, Pennsylvania       FAX: 215-546-0118
       19103
                                        ATTN: Joshua Gillispie
       Green & Gillispie
                                        PHONE: 501-244-0700                   Abuse-         Contingent/
       1 Riverfront Place, Suite 605
 7                                      EMAIL:                                Related       Unliquidated/                                    Undetermined
       North Little Rock, Arkansas                                                            Disputed
                                        josh@greenandgillispie.com           Litigation
       72114
                                        FAX: 501-244-2020
       Gregg, Hunt, Ahern & Embry
                                        ATTN: Jonathan Barnes
       Attorneys at Law                                                       Abuse-         Contingent/
                                        PHONE: 617-494-1920
 8     One Cranberry Hill, #304                                               Related       Unliquidated/                                    Undetermined
                                        EMAIL: jbarnes@chelaw.com                             Disputed
       Lexington, Massachusetts                                              Litigation
                                        FAX: 617-494-1921
       02421
       Hurley McKenna & Mertz
                                        ATTN: Christopher Hurley
       P.C.                                                                   Abuse-         Contingent/
                                        PHONE: 312-553-4900
 9     33 N. Dearborn Street, Suite                                           Related       Unliquidated/                                    Undetermined
                                        EMAIL: churley@hurley-law.com                         Disputed
       1430                                                                  Litigation
                                        FAX: 312-553-0964
       Chicago, Illinois 60602
                                        ATTN: Jeffrey Anderson
       Jeff Anderson & Associates,
                                        PHONE: 909-344-3847                   Abuse-         Contingent/
       PA
 10                                     EMAIL:                                Related       Unliquidated/                                    Undetermined
       505 Thornall Street, Suite 405
                                        jeff@andersonadvocates.com           Litigation       Disputed
       Edison, New Jersey 08837
                                        FAX: Unknown
       Kosnoff Law                      ATTN: Timothy Kosnoff, Esq.
                                                                              Abuse-         Contingent/
       1321 Upland Drive PMB            PHONE: 206-257-3590
 11                                                                           Related       Unliquidated/                                    Undetermined
       4685                             EMAIL: tim@kosnoff.com                                Disputed
                                                                             Litigation
       Houston, Texas 77043             FAX: 206-837-9690
                                        ATTN: Mitchell Garabedian
       Law Offices of Mitchell
                                        PHONE: 617-523-6520                   Abuse-         Contingent/
       Garabedian100 State Street,
 12                                     EMAIL:                                Related       Unliquidated/                                    Undetermined
       6th FloorBoston,
                                        mgarabedian@garabedianlaw.com        Litigation       Disputed
       Massachusetts 02109
                                        FAX: 617-523-3687
                                        ATTN: James L. Dumas
       Lindsay Hart, LLP                                                      Abuse-         Contingent/
                                        PHONE: 503-226-7677
 13    1300 SW 5th Ave, Suite 3400                                            Related       Unliquidated/                                    Undetermined
                                        EMAIL: jdumas@lindsayhart.com                         Disputed
       Portland, Oregon 97201                                                Litigation
                                        FAX: Unknown
       Lujan & Wolff, LLP               ATTN: David Lujan
                                                                              Abuse-         Contingent/
       238 Archbishop Flores Street,    PHONE: 671-477-8064
 14                                                                           Related       Unliquidated/                                    Undetermined
       Suite 300, DNA Building          EMAIL: Unknown                                        Disputed
                                                                             Litigation
       Hagatna, Guam 96910              FAX: 671-477-5297
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 Debtor      Delaware BSA, LLC                                                      Case number (if known)
             Name

Name of law firm and complete          Name, telephone number, and email   Nature of      Indicate if        Amount of unsecured claim
mailing address, including zip code    address of law firm contact         the claim      claim is           If the claim is fully unsecured, fill in only
                                                                           (for           contingent,        unsecured claim amount. If claim is
                                                                           example,       unliquidated,      partially secured, fill in total claim
                                                                           Trade          or disputed        amount and deduction for value of
                                                                           Payables,                         collateral or setoff to calculate
                                                                           bank loans,                       unsecured claim.
                                                                           professional
                                                                           services,
                                                                           and
                                                                           government
                                                                           contracts)
                                                                                                             Total        Deduction        Unsecured
                                                                                                             claim, if    for value of     claim
                                                                                                             partially    collateral
                                                                                                             secured      or setoff
       Marsh Law Firm                  ATTN: James Marsh
                                                                             Abuse-         Contingent/
       151 East Post Road, Ste. 102    PHONE: 929-232-3235
 15                                                                          Related       Unliquidated/                                    Undetermined
       White Plains, New York          EMAIL: jamesmarch@marsh.law                           Disputed
                                                                            Litigation
       10601                           FAX: Unknown
                                       ATTN: Jordan Merson
       Merson Law                                                            Abuse-         Contingent/
                                       PHONE: 212-603-9100
 16    150 East 58th St., 34th Floor                                         Related       Unliquidated/                                    Undetermined
                                       EMAIL: jmerson@mersonlaw.com                          Disputed
       New York, New York 10155                                             Litigation
                                       FAX: 347-441-4171
                                       ATTN: Michael G. Dowd
       Michael G. Dowd                                                       Abuse-         Contingent/
                                       PHONE: 212-751-1640
 17    600 Third Ave., 15th Floor                                            Related       Unliquidated/                                    Undetermined
                                       EMAIL: Unknown                                        Disputed
       New York, New York 10016                                             Litigation
                                       FAX: Unknown
       Paul Mones                      ATTN: Paul Mones
                                                                             Abuse-         Contingent/
       13101 Washington Blvd.          PHONE: 310-400-5960
 18                                                                          Related       Unliquidated/                                    Undetermined
       Los Angeles, California         EMAIL: pamones@comcast.net                            Disputed
                                                                            Litigation
       90066                           FAX: Unknown
       Penn Law Group                  ATTN: Darren Penn
                                                                             Abuse-         Contingent/
       4200 Northside Parkway,         PHONE: 404-961-7655
 19                                                                          Related       Unliquidated/                                    Undetermined
       NW, Building One, Suite 100     EMAIL: darren@pennlawgroup.com                        Disputed
                                                                            Litigation
       Atlanta, Georgia 30327          FAX: Unknown
       Pfau, Cochran, Vertetis,        ATTN: Michael Pfau
                                                                             Abuse-         Contingent/
       Amala PLLC                      PHONE: 206-451-8260
 20                                                                          Related       Unliquidated/                                    Undetermined
       403 Columbia Street, Ste. 500   EMAIL: michael@pcvalaw.com                            Disputed
                                                                            Litigation
       Seattle, Washington 98104       FAX: 206-623-3624
       Rebenack, Aronow, Mascolo,
                                       ATTN: Jay Silvio Mascolo
       LLP                                                                   Abuse-         Contingent/
                                       PHONE: 732-247-3600
 21    111 Livingston Avenue                                                 Related       Unliquidated/                                    Undetermined
                                       EMAIL: Jmascolo@ram.law                               Disputed
       New Brunswick , New Jersey                                           Litigation
                                       FAX: 732-247-3630
       08901
                                       ATTN: Patrick Stoneking
       Robins Kaplan LLP               PHONE: 212-980-7400                   Abuse-         Contingent/
 22    399 Park Avenue, Suite 3600     EMAIL:                                Related       Unliquidated/                                    Undetermined
       New York, New York 10022        pstoneking@robinskaplan.com          Litigation       Disputed
                                       FAX: 212-980-7499
                                       ATTN: Sanford Rubenstein
       Rubenstein & Rynecki                                                  Abuse-         Contingent/
                                       PHONE: 718-522-1020
 23    16 Court Street, Ste. 1717                                            Related       Unliquidated/                                    Undetermined
                                       EMAIL: Unknown                                        Disputed
       Brooklyn, New York 11241                                             Litigation
                                       FAX: Unknown
       Sweeny Reich & Bolz, LLP
                                       ATTN: Gerard Sweeney
       1981 Marcus Avenue, Ste.                                              Abuse-         Contingent/
                                       PHONE: 718-459-9000
 24    200                                                                   Related       Unliquidated/                                    Undetermined
                                       EMAIL: Unknown                                        Disputed
       Lake Success, New York                                               Litigation
                                       FAX: Unknown
       11042
                                       ATTN: Tad Thomas
       Thomas Law Office, PLLC
                                       PHONE: 877-736-4963                   Abuse-         Contingent/
       9418 Norton Commons Blvd.,
 25                                    EMAIL:                                Related       Unliquidated/                                    Undetermined
       Ste. 200                                                                              Disputed
                                       tad@thomaslawoffices.com             Litigation
       Louisville, Kentucky 40059
                                       FAX: 502-785-7257

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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


 In re:                                                 Chapter 11

 DELAWARE BSA, LLC,                                     Case No. 20-_____ (___)

                 Debtors.                               (Joint Administration Requested)



                         CORPORATE OWNERSHIP STATEMENT

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following list identifies all corporations, other than a governmental unit, which directly or
indirectly own 10% or more of any class of equity interests in the above-captioned debtor and
debtor in possession.

                Direct Owner                                     Indirect Owners
             Boy Scouts of America                                    None
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


 In re:                                                 Chapter 11

 DELAWARE BSA, LLC,                                     Case No. 20-_____ (___)

                 Debtors.                               (Joint Administration Requested)



                         LIST OF EQUITY SECURITY HOLDERS

          Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following
is a list of holders of equity securities of the above-captioned debtor and debtor in possession.
  Name and Last Known Address or                Kind of Interest         Percentage of Interest
    Place of Business of Holder
       Boy Scouts of America                      Membership                      100%
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